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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                          SAVANNAH DIVISION

UNITED STATES OF AMERICA                )
                                        )       CASE NO. CR 218-014
v.                                      )
                                        )
JEREMY MCINTYRE                         )
                                        )

       GOVERNMENT’S MOTION FOR DOWNWARD DEPARTURE AS TO
                 DEFENDANT JEREMY MCINTYRE

        Comes now the United States of America, by and through Bobby L. Christine,

United States Attorney for the Southern District of Georgia, and respectfully moves,

pursuant to U.S.S.G. § 5K1.1, for a downward departure from the applicable

sentencing guideline range for defendant Jeremy McIntyre, based upon his

substantial assistance to the government in the investigation and prosecution of

other persons.

                                  BACKGROUND

        1.    On March 7, 2018, the grand jury returned a 36-count indictment

against Jeremy McIntyre and 15 codefendants. McIntyre is named in Counts 1, 20,

21, and 22 of the Indictment.

        2.    Count 1 charges that McIntyre committed the offense of conspiracy to

possess with intent to distribute, and to distribute, 5 kilograms or more of cocaine, a

quantity of cocaine base, and a quantity of marihuana, in violation of 21 U.S.C. §

846.



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         3.   Count 20 charges that McIntyre committed the offense of possession of

a firearm by a prohibited person, in violation of 18 U.S.C. § 922(g)(3).

         4.   Count 21 charges that McIntyre committed the offense of maintaining

a drug-involved premises, in violation of 21 U.S.C. § 856(a)(1).

         5.   Count 22 charges that McIntyre committed the offense of possession

with intent to distribute a quantity of cocaine, in violation of 21 U.S.C. § 841(a)(1).

         6.   On October 22, 2018, McIntyre pled guilty to conspiracy to possess

with intent to distribute, and to distribute, a quantity of cocaine, in violation of 21

U.S.C. § 846, a lesser included offense of Count 1 of the Indictment. As part of his

plea agreement, Defendant agreed to cooperate with the government, providing full,

complete, candid, and truthful cooperation in the investigation and prosecution of

the offenses charged in the Indictment and any related offenses.

         7.   The government represents, and will more fully develop at sentencing,

that the assistance of the defendant in the investigation and prosecution of others

constitutes “substantial assistance” as contemplated by U.S.S.G. 5K1.1. Therefore,

by the filing of this downward departure motion pursuant to U.S.S.G. § 5K1.1, the

Court is authorized to impose a sentence below the advisory guideline sentencing

range.

         8.   McIntyre cooperated early in the investigation in this case, and

provided the government with useful information on several indicted co-

conspirators. He also met with the government on several occasions after the

Indictment was returned, and was willing to testify at trial if needed.



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      9.     Based on Defendant’s assistance, the government submits that

Defendant McIntyre provided substantial assistance and that his cooperation

warrants a sentence below the sentencing guidelines. The government

characterizes the overall scope and quality of Defendant McIntyre’s cooperation as

Minimal.1

                              CITATION OF AUTHORITY

      Section 5K1.1 of the United States Sentencing Guidelines provides that:

      Upon motion of the government stating that the defendant has provided

substantial assistance in the investigation or prosecution of another person who has

committed an offense, the court may depart from the guidelines.

      (a) The appropriate reduction shall be determined by the court for reasons

stated that may include, but are not limited to, consideration of the following:

      (1) the court’s evaluation of the significance and usefulness of the defendant’s

assistance, taking into consideration the government’s evaluation of the assistance

rendered;

      (2) the truthfulness, completeness, and reliability of any information or

testimony provided by the defendant;

      (3) the nature and extent of the defendant’s assistance;

      (4) any injury suffered, or any danger or risk of injury to the defendant or his

family resulting from his assistance;

      (5) the timeliness of the defendant’s assistance.


1Using this scale: Exceptional, Very Significant, Significant, Moderate, and
Minimal.
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      WHEREFORE, the government respectfully requests that this Court depart

downward as the Court deems appropriate in imposing sentence on the

aforementioned defendant.

                                    Respectfully submitted,

                                    BOBBY L. CHRISTINE
                                    UNITED STATES ATTORNEY

                                    /s/ Matthew A. Josephson
                                    Assistant United States Attorney
                                    Georgia Bar No. 367216




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                                CERTIFICATE OF SERVICE

       This is to certify that I have on this day served all the parties in this case in

accordance with the notice of electronic filing (“NEF”) which was generated as a

result of electronic filing in this Court.

This 31st day of January, 2019.

                                                Respectfully submitted,

                                                BOBBY L. CHRISTINE
                                                UNITED STATES ATTORNEY

                                                /s/ Matthew A. Josephson
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